Case 2:24-cv-00172-TS-DAO Document 28 Filed 05/30/24 PageID.240 Page 1 of 4




          UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                            CENTRAL DIVISION


 STATE OF UTAH, including the UTAH
 SCHOOL AND INSTITUTIONAL TRUST
 LANDS ADMINISTRATION (SITLA), an
 agency of the State of Utah; and EMERY                  SCHEDULING ORDER
 COUNTY, a Utah political subdivision,

               Plaintiffs,
 v.

 DEB HAALAND, in her official capacity as                Case No. 2:24-cv-00172
 Secretary of the Interior; DEPARTMENT
 OF THE INTERIOR, an agency of the                      District Judge Ted Stewart
 United States of America; TRACY
 STONE-MANNING, in her official                    Magistrate Judge Daphne A. Oberg
 capacity as Director of the Bureau of Land
 Management; and BUREAU OF LAND
 MANAGEMENT, an agency of the United
 States of America,

               Defendants,
 and

 SOUTHERN UTAH WILDERNESS
 ALLIANCE,

               Defendant-Intervenor.


       The parties have filed a joint motion for entry of a scheduling order pursuant to

DUCivR 7-4(c). 1 The motion is GRANTED and case deadlines are set forth below.

These deadlines may not be modified without a court order consistent with Fed. R. Civ.

P. 16(b)(4) and DUCivR 83-6.




1 (Doc. No. 26.)



                                              1
Case 2:24-cv-00172-TS-DAO Document 28 Filed 05/30/24 PageID.241 Page 2 of 4




   I.        Agency Decision Challenged

          Plaintiffs challenge BLM’s October 28, 2022, Decision Record on the San Rafael

Desert Travel Management Plan. BLM issued the Decision Record after agreeing to

reconsider its designation of a number of routes as part of its settlement agreement in

Southern Utah Wilderness Alliance v. U.S. Bureau of Land Management, et. al., Case

No. 2:21-cv-0091-DAK-JCB.

   II.       Plaintiffs’ Grounds for Challenging the Agency Decision

          Plaintiffs raise claims challenging the agency action based on the following

authorities: (1) federal case law, State of Utah v. Andrus, 486 F. Supp. 995 (D. Utah

1979); (2) the John D. Dingell, Jr. Conservation, Management, and Recreation Act, 16

U.S.C. § 1132; (3) the “arbitrary and capricious” standard under the Administrative

Procedure Act, 5 U.S.C. § 706(2); (4) the Federal Land Policy Management Act, 43

U.S.C. § 1701–18787; (5) the National Environmental Policy Act (“NEPA”), 42 U.S.C. §

4321 et seq.; and (6) the settlement agreement reached in Southern Utah Wilderness

Alliance v. U.S. Bureau of Land Management, et. al., Case No. 2:21-cv-0091-DAK-

JCB. 2

   III.      Agency’s Reasons in Support of Agency Decision

          Federal Defendants deny that BLM’s decision and agency action “is arbitrary and

capricious, not supported by substantial evidence, or otherwise contrary to law.”3

Federal Defendants allege the following affirmative defenses: (1) Plaintiffs fail to state a




2 (See Compl. for Declaratory and Injunctive Relief, Doc. No. 1.)


3 (Federal Defs.’ Answer, Doc. No. 24.)



                                               2
Case 2:24-cv-00172-TS-DAO Document 28 Filed 05/30/24 PageID.242 Page 3 of 4




claim upon which relief may be granted; (2) Plaintiffs lack standing to bring all or some

of their claims; (3) Plaintiffs have failed to properly establish subject matter jurisdiction;

and (4) Plaintiffs have failed to demonstrate that all or some of their claims are ripe for

judicial review. 4

          Defendant-Intervenor likewise denies that the TMP and DR was arbitrary,

capricious or otherwise contrary to law. 5 Defendant-Intervenor also raises the following

affirmative defenses: (1) Plaintiffs fail to state a claim upon which relief may be granted

for all or some of the claims in the complaint; (2) All or some of Plaintiffs’ claims are not

justiciable, and (3) Plaintiffs lack standing to assert all or some of the claims in the

Complaint. 6

    IV.      Filing Dates of Relevant Documents

             a. Federal Defendants’ preparation of the Administrative Record: July 24,

                2024

             b. Plaintiffs’ conferral with Federal Defendants on the contents of the

                Administrative Record: August 7, 2024

             c. Federal Defendants’ lodging of the Administrative Record with the Court:

                August 21, 2024

             d. Plaintiffs’ Motion to Supplement or Amend the Administrative Record:

                August 28, 2024. If such a motion is filed, the remainder of the schedule




4 (Id.)


5 (Def.-Intervenor’s Resp. to Pl.’s Compl., Doc. No. 23.)


6 (Id.)



                                               3
Case 2:24-cv-00172-TS-DAO Document 28 Filed 05/30/24 PageID.243 Page 4 of 4




           set out below is vacated and parties will submit a new Proposed

           Scheduling Order within 14 days of the Court’s Order on the administrative

           record motion.

        e. Plaintiffs’ Opening Brief: October 2, 2024

        f. Federal Defendants’ Response Brief: November 6, 2024

        g. Defendant-Intervenor’s Response Brief: November 20, 2024. Defendant-

           Intervenor’s Response Brief shall strive to not be duplicative of the Federal

           Defendants’ Response Brief.

        h. Plaintiffs’ Reply Brief: December 18, 2024

     DATED this 30th day of May, 2024.

                                       BY THE COURT:



                                       _____________________________________
                                       Daphne A. Oberg
                                       United States Magistrate Judge




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